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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

  RAVGEN, INC.,                                      )
                                                     )
                          Plaintiff,                 )
                                                     )
                 v.                                  )    C.A. No. 20-1730 (RGA) (JLH)
                                                     )
  MYRIAD GENETICS, INC. and                          )
  MYRIAD WOMEN’S HEALTH, INC.,                       )
                                                     )
                          Defendants.                )

         MYRIAD GENETICS, INC. AND MYRIAD WOMEN’S HEALTH, INC.'S
                 FED. R. CIV. P. 7.1 DISCLOSURE STATEMENT

        Pursuant to Federal Rule of Civil Procedure 7.1, Defendant Myriad Women’s Health, Inc.

 states that it is a wholly-owned subsidiary of Myriad Genetics, Inc.

        Defendant Myriad Genetics, Inc. states that BlackRock Institutional Trust Company, N.A.,

 a publicly held company, owns more than 10% of the stock of Myriad Genetics, Inc.

                                                   MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                                   /s/ Jack B. Blumenfeld

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 February 11, 2021
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                                   CERTIFICATE OF SERVICE

        I hereby certify that on February 11, 2021, I caused the foregoing to be electronically filed

 with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

 registered participants.

        I further certify that I caused copies of the foregoing document to be served on

 February 11, 2021, upon the following in the manner indicated:

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